Case 5:19-cv-00433-AB-SHK Document 40 Filed 10/10/19 Page 1 of 1 Page ID #:1589




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL


Case No.:           ED CV 19-00433-AB (SHKx)                             Date:     October 10, 2019


Title:    Tabitha Sperring et al. v. LLR, Inc. et al.


Present: The Honorable         ANDRÉ BIROTTE JR., United States District Judge
                   Carla Badirian                                             N/A
                   Deputy Clerk                                          Court Reporter

    Attorney(s) Present for Plaintiff(s):                     Attorney(s) Present for Defendant(s):
                   None Appearing                                       None Appearing

Proceedings:          [In Chambers] ORDER granting Plaintiffs’ un-opposed motion
                      for an order dismissing this action with prejudice and
                      VACATING hearing

          Before the Court is Plaintiffs Tabitha Sperring, Paislie Marchant, and Sally
  Poston’s (“Plaintiffs”) motion for a voluntary dismissal with prejudice under
  Federal Rule of Civil Procedure 41(a)(2). (Dkt. No. 33). Defendants LuLaRoe,
  LLC, LLR, Inc., Lennon Leasing, LLC, Mark Stidham, and DeAnne Brady have
  filed a notice of non-opposition to Plaintiffs’ motion. (Dkt. No. 38). The Court
  accordingly GRANTS Plaintiffs’ motion for a voluntary dismissal with prejudice
  under Rule 41(a)(2). The hearing on this motion, scheduled for October 11, 2019,
  is VACATED.

           IT IS SO ORDERED.




   CV-90 (12/02)                    CIVIL MINUTES – GENERAL                      Initials of Deputy Clerk CB

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